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 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     DEONDRE RAGLIN,                            Case No.:
11
                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR
           vs.                                  VIOLATION OF:
13
                                                1. AMERICANS WITH DISABILITIES
14   ALON REALTY, LLC; and DOES 1 to 10,        ACT, 42 U.S.C. §12131 et seq.;
15                Defendants.                   2. CALIFORNIA’S UNRUH CIVIL
                                                RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                              52 et seq.;
17                                              3. CALIFORNIA’S DISABLED
                                                PERSONS ACT, CAL CIV. CODE §54 et
18                                              seq.
19                                              4. CALIFORNIA’S UNFAIR
                                                COMPETITION ACT, CAL BUS & PROF
20                                              CODE § 17200, et seq.
21                                              5. NEGLIGENCE
22
23
24         Plaintiff DEONDRE RAGLIN (“Plaintiff”) complains of Defendants ALON
25   REALTY, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:
26   //
27   //
28   //



                                   COMPLAINT FOR DAMAGES - 1
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 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, Los Angeles County,
10   California, and Plaintiff’s causes of actions arose in this district.
11                                             PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitation in his ability to walk. Plaintiff suffers from paraplegia due to T8 spinal cord
14   injury and requires the use of a wheelchair at all times when traveling in public.
15         5.     Defendants are, or were at the time of the incident, the real property owners,
16   business operators, lessors and/or lessees of the real property for a shoe store
17   (“Business”) located at or about 2388 Long Beach Blvd., Long Beach, California.
18         6.     The true names and capacities, whether individual, corporate, associate or
19   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21   Court to amend this Complaint when the true names and capacities have been
22   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23   fictitiously named Defendants are responsible in some manner, and therefore, liable to
24   Plaintiff for the acts herein alleged.
25         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
28




                                    COMPLAINT FOR DAMAGES - 2
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 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                 FACTUAL ALLEGATIONS
 8         9.     In or about May of 2022, Plaintiff went to the Business. The Business is a
 9   shoe store business establishment, which is open to the public, and is a place of public
10   accommodation and affects commerce through its operation. Defendants provide parking
11   spaces for customers.
12         10.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with his ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business. To the extent
15   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16   limited to, the following:
17                a.     Defendants failed to comply with the federal and state standards for
18                       the parking space designated for persons with disabilities. Defendants
19                       failed to provide any parking space designated for persons with
20                       disabilities as the one provided was blocked by a tent.
21                b.     Defendants failed to maintain the parking space designated for
22                       persons with disabilities to comply with the federal and state
23                       standards. Defendants failed to clear or provide proper van accessible
24                       space designated for the persons with disabilities as there was a tent
25                       blocking the entire van accessible space.
26         11.    These barriers and conditions denied Plaintiff the full and equal access to the
27   Business. Plaintiff wishes to patronize the Business again. However, Plaintiff is deterred
28




                                   COMPLAINT FOR DAMAGES - 3
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 1   from visiting the Business because his knowledge of these violations prevents him from
 2   returning until the barriers are removed.
 3         12.    Based on the violations, Plaintiff alleges, on information and belief, that
 4   there are additional barriers to accessibility at the Business after further site inspection.
 5   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 6   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 7         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
 8   knew that particular barriers render the Business inaccessible, violate state and federal
 9   law, and interfere with access for the physically disabled.
10         14.    At all relevant times, Defendants had and still have control and dominion
11   over the conditions at this location and had and still have the financial resources to
12   remove these barriers without much difficulty or expenses to make the Business
13   accessible to the physically disabled in compliance with ADDAG and Title 24
14   regulations. Defendants have not removed such barriers and have not modified the
15   Business to conform to accessibility regulations.
16                                   FIRST CAUSE OF ACTION
17       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
18         15.    Plaintiff incorporates by reference each of the allegations in all prior
19   paragraphs in this complaint.
20         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
21   shall be discriminated against on the basis of disability in the full and equal enjoyment of
22   the goods, services, facilities, privileges, advantages, or accommodations of any place of
23   public accommodation by any person who owns, leases, or leases to, or operates a place
24   of public accommodation. See 42 U.S.C. § 12182(a).
25         17.    Discrimination, inter alia, includes:
26                a.     A failure to make reasonable modification in policies, practices, or
27                       procedures, when such modifications are necessary to afford such
28                       goods, services, facilities, privileges, advantages, or accommodations



                                     COMPLAINT FOR DAMAGES - 4
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 1                    to individuals with disabilities, unless the entity can demonstrate that
 2                    making such modifications would fundamentally alter the nature of
 3                    such goods, services, facilities, privileges, advantages, or
 4                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5              b.    A failure to take such steps as may be necessary to ensure that no
 6                    individual with a disability is excluded, denied services, segregated or
 7                    otherwise treated differently than other individuals because of the
 8                    absence of auxiliary aids and services, unless the entity can
 9                    demonstrate that taking such steps would fundamentally alter the
10                    nature of the good, service, facility, privilege, advantage, or
11                    accommodation being offered or would result in an undue burden. 42
12                    U.S.C. § 12182(b)(2)(A)(iii).
13              c.    A failure to remove architectural barriers, and communication barriers
14                    that are structural in nature, in existing facilities, and transportation
15                    barriers in existing vehicles and rail passenger cars used by an
16                    establishment for transporting individuals (not including barriers that
17                    can only be removed through the retrofitting of vehicles or rail
18                    passenger cars by the installation of a hydraulic or other lift), where
19                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
20              d.    A failure to make alterations in such a manner that, to the maximum
21                    extent feasible, the altered portions of the facility are readily
22                    accessible to and usable by individuals with disabilities, including
23                    individuals who use wheelchairs or to ensure that, to the maximum
24                    extent feasible, the path of travel to the altered area and the
25                    bathrooms, telephones, and drinking fountains serving the altered
26                    area, are readily accessible to and usable by individuals with
27                    disabilities where such alterations to the path or travel or the
28                    bathrooms, telephones, and drinking fountains serving the altered



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 1                       area are not disproportionate to the overall alterations in terms of cost
 2                       and scope. 42 U.S.C. § 12183(a)(2).
 3         18.    Where parking spaces are provided, accessible parking spaces shall be
 4   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 5   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 6   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 7   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 8   be van parking space. 2010 ADA Standards § 208.2.4.
 9         19.    Under the ADA, the method and color of marking are to be addressed by
10   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
11   Building Code (“CBC”), the parking space identification signs shall include the
12   International Symbol of Accessibility. Parking identification signs shall be reflectorized
13   with a minimum area of 70 square inches. Additional language or an additional sign
14   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
15   parking space identification sign shall be permanently posted immediately adjacent and
16   visible from each parking space, shall be located with its centerline a maximum of 12
17   inches from the centerline of the parking space and may be posted on a wall at the
18   interior end of the parking space. See CBC § 11B-502.6, et seq.
19         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
20   each entrance to an off-street parking facility or immediately adjacent to on-site
21   accessible parking and visible from each parking space. The additional sign shall not be
22   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
23   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
24   designated accessible spaces not displaying distinguishing placards or special license
25   plates issued for persons with disabilities will be towed always at the owner’s expense…”
26   See CBC § 11B-502.8, et seq.
27
28




                                   COMPLAINT FOR DAMAGES - 6
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 1            21.   Here, Defendants failed to provide accessible parking space designated for
 2   persons with disabilities as there was a tent blocking access to the provided parking
 3   space.
 4            22.   For the parking spaces, access aisles shall be marked with a blue painted
 5   borderline around their perimeter. The area within the blue borderlines shall be marked
 6   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 7   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
 8   be painted on the surface within each access aisle in white letters a minimum of 12 inches
 9   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
10   11B-502.3.3.
11            23.   Here, Defendants failed to clear or provide the access aisle as there was a
12   tent blocking the entire parking space provided.
13            24.   A public accommodation shall maintain in operable working condition those
14   features of facilities and equipment that are required to be readily accessible to and usable
15   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
16   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
17   violation of Plaintiff’s rights under the ADA and its related regulations.
18            25.   The Business has denied and continues to deny full and equal access to
19   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
20   discriminated against due to the lack of accessible facilities, and therefore, seeks
21   injunctive relief to alter facilities to make such facilities readily accessible to and usable
22   by individuals with disabilities.
23                                 SECOND CAUSE OF ACTION
24                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
25            26.   Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
27            27.   California Civil Code § 51 states, “All persons within the jurisdiction of this
28   state are free and equal, and no matter what their sex, race, color, religion, ancestry,



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 1   national origin, disability, medical condition, genetic information, marital status, sexual
 2   orientation, citizenship, primary language, or immigration status are entitled to the full
 3   and equal accommodations, advantages, facilities, privileges, or services in all business
 4   establishments of every kind whatsoever.”
 5         28.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 6   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 7   for each and every offense for the actual damages, and any amount that may be
 8   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 9   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
10   attorney’s fees that may be determined by the court in addition thereto, suffered by any
11   person denied the rights provided in Section 51, 51.5, or 51.6.
12         29.    California Civil Code § 51(f) specifies, “a violation of the right of any
13   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
14   shall also constitute a violation of this section.”
15         30.    The actions and omissions of Defendants alleged herein constitute a denial
16   of full and equal accommodation, advantages, facilities, privileges, or services by
17   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
18   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
19   51 and 52.
20         31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
21   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
22   damages as specified in California Civil Code §55.56(a)-(c).
23                                  THIRD CAUSE OF ACTION
24                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
25         32.    Plaintiff incorporates by reference each of the allegations in all prior
26   paragraphs in this complaint.
27         33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
28   entitled to full and equal access, as other members of the general public, to



                                     COMPLAINT FOR DAMAGES - 8
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 1   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 2   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 3   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 4   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 5   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 6   places of public accommodations, amusement, or resort, and other places in which the
 7   general public is invited, subject only to the conditions and limitations established by
 8   law, or state or federal regulation, and applicable alike to all persons.
 9         34.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
10   corporation who denies or interferes with admittance to or enjoyment of public facilities
11   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
12   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
13   the actual damages, and any amount as may be determined by a jury, or a court sitting
14   without a jury, up to a maximum of three times the amount of actual damages but in no
15   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
16   determined by the court in addition thereto, suffered by any person denied the rights
17   provided in Section 54, 54.1, and 54.2.
18         35.    California Civil Code § 54(d) specifies, “a violation of the right of an
19   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
20   constitute a violation of this section, and nothing in this section shall be construed to limit
21   the access of any person in violation of that act.
22         36.    The actions and omissions of Defendants alleged herein constitute a denial
23   of full and equal accommodation, advantages, and facilities by physically disabled
24   persons within the meaning of California Civil Code § 54. Defendants have
25   discriminated against Plaintiff in violation of California Civil Code § 54.
26         37.    The violations of the California Disabled Persons Act caused Plaintiff to
27   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
28   statutory damages as specified in California Civil Code §55.56(a)-(c).



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 1                                 FOURTH CAUSE OF ACTION
 2                                 UNFAIR COMPETITION ACT
 3           38.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5           39.    Defendants have engaged in unfair competition, unfair or fraudulent
 6    business practices, and unfair, deceptive, untrue or misleading advertising in violation of
 7    the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
 8           40.    Defendants engage in business practices and policies that create systemic
 9    barriers to full and equal access for people with disability in violation of state and federal
10    law.
11           41.    The actions and omissions of Defendants are unfair and injurious to
12    Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
13    unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
14    provided with goods and services provided to other consumers. Plaintiff seeks relief
15    necessary to prevent Defendants’ continued unfair business practices and policies and
16    restitution of any month that Defendants acquired by means of such unfair competition,
17    including profits unfairly obtained.
18                                    FIFTH CAUSE OF ACTION
19                                           NEGLIGENCE
20           42.    Plaintiff incorporates by reference each of the allegations in all prior
21    paragraphs in this complaint.
22           43.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24    to the Plaintiff.
25           44.    Defendants breached their duty of care by violating the provisions of ADA,
26    Unruh Civil Rights Act and California Disabled Persons Act.
27           45.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28    has suffered damages.



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 1                                     PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3    Defendants as follows:
 4          1.     For preliminary and permanent injunction directing Defendants to comply
 5    with the Americans with Disability Act and the Unruh Civil Rights Act;
 6          2.     Award of all appropriate damages, including but not limited to statutory
 7    damages, general damages and treble damages in amounts, according to proof;
 8          3.     Award of all reasonable restitution for Defendants’ unfair competition
 9    practices;
10          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11    action;
12          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13          6.     Such other and further relief as the Court deems just and proper.
14                               DEMAND FOR TRIAL BY JURY
15          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16    demands a trial by jury on all issues so triable.
17
18    Dated: June 15, 2022                    SO. CAL. EQUAL ACCESS GROUP
19
20
21                                            By:   _/s/ Jason J. Kim_____________
                                                    Jason J. Kim, Esq.
22                                            Attorneys for Plaintiff
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                                    COMPLAINT FOR DAMAGES - 11
